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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JAMES GINDIN,

               Plaintiff,                      Case No.: 2:18-cv-13235
v.                                             Hon. Arthur J. Tarnow

JEFF GLOVER & ASSOCIATES, INC.,
a Michigan Corporation, JEFF GLOVER,
an Individual, JAD SWEIS, an Individual,
COLBY LOOMIS, an Individual and
ANTHONY BERTRAND, an Individual.

          Defendants.
__________________________________________________________________/

    BRADLEY J. FRIEDMAN (P70877)           WITOLD SZTYKIEL (P27603)
    Law Offices of Bradley J. Friedman     Johnston, Sztykiel & Hunt, P.C.
    Attorney for Plaintiff                 Attorneys for Jad Sweis
    30300 Northwestern Hwy., #101          and Anthony Bertrand
    Farmington Hills, MI 48334             3250 W. Big Beaver Road, #500
    (248) 932-0100 / fax (248) 932-3512    Troy, MI 48084
    bfriedmanesq@gmail.com                 (248) 641-1800 / fax (248) 641-3845
                                           wsztykiel@jshlawmi.com
    STEVEN L. WOODROW
    PATRICK H. PELUSO             KENNETH A. RICH (P38349)
    TAYLOR T. SMITH               MATTHEW J. SKLUT (P80241)
    WOODROW & PELUSO, LLC         Rich & Campbell, PC
    Co-Counsel for Plaintiff      Attorneys for Jeff Glover &
                                  Associates, Inc.,
    3900 East Mexico Avenue, Suite 300
    Denver, CO 80201              Jeff Glover and Colby Loomis
                                  30665 Northwestern Hwy., #201
    (720) 213-0675 / fax (303) 927-0809
                                  Farmington Hills, MI 48334
                                  (248) 406-8000 / fax (248) 406-8001
                                  krich@richandcampbell.com
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                      NOTICE OF SUBSTITUTION
     PLEASE TAKE NOTICE that the undersigned has this date entered his

Appearance as attorney for Defendants, JAD SWEIS and ANTHONY

BERTRAND, in the above cause in place and stead of KENNETH A. RICH

(P38349), MATTHEW J. SKLUT (P80241) and RICH & CAMPBELL, P.C.

                                  Law Offices of
                                  JOHNSTON, SZTYKIEL & HUNT, P.C.,

                            BY    /s/ Witold Sztykiel
                                  WITOLD SZTYKIEL (P27603)
                                  Attorney for Jad Sweis and
                                  Anthony Bertrand
                                  3250 West Big Beaver Road, #500
                                  Troy, Michigan 48084
                                  (248) 641-1800; Fax: (248) 641-3845
DATED: March 6, 2019

                     CONSENT TO SUBSTITUTION
     I HEREBY CONSENT to the substitution of WITOLD SZTYKIEL and

JOHNSTON, SZTYKIEL & HUNT, P.C., as attorney for Defendants, JAD SWEIS

and ANTHONY BERTRAND, in the above entitled cause.

                                  Law Offices of
                                  RICH & CAMPBELL, P.C.

                            BY    /s/ Kenneth A. Rich w/Permission 3/5/19
                                  KENNETH A. RICH (P38349)
                                  MATTHEW J. SKLUT (P80241)
                                  Attorney for Defendants
                                  30665 Northwestern Hwy., #201
                                  Farmington Hills, MI 48334
DATED: March 6, 2019              (248) 406-8000 / fax (248) 406-8001
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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

JAMES GINDIN,

               Plaintiff,                      Case No.: 2:18-cv-13235
v.                                             Hon. Arthur J. Tarnow

JEFF GLOVER & ASSOCIATES, INC.,
a Michigan Corporation, JEFF GLOVER,
an Individual, JAD SWEIS, an Individual,
COLBY LOOMIS, an Individual and
ANTHONY BERTRAND, an Individual.

          Defendants.
__________________________________________________________________/

    BRADLEY J. FRIEDMAN (P70877)           WITOLD SZTYKIEL (P27603)
    Law Offices of Bradley J. Friedman     Johnston, Sztykiel & Hunt, P.C.
    Attorney for Plaintiff                 Attorneys for Jad Sweis
    30300 Northwestern Hwy., #101          and Anthony Bertrand
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    STEVEN L. WOODROW
    PATRICK H. PELUSO             KENNETH A. RICH (P38349)
    TAYLOR T. SMITH               MATTHEW J. SKLUT (P80241)
    WOODROW & PELUSO, LLC         Rich & Campbell, PC
    Co-Counsel for Plaintiff      Attorneys for Jeff Glover &
                                  Associates, Inc.,
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                                  krich@richandcampbell.com
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                        ORDER FOR SUBSTITUTION
      Upon the filing of the attached Substitution of Attorneys and Consent to

Substitution, and the Court being fully advised in the premises;

      IT IS HEREBY ORDERED that WITOLD SZTYKIEL and JOHNSTON,

SZTYKIEL & HUNT, P.C. be substituted as attorney for Defendants, JAD

SWEIS and ANTHONY BERTRAND, in place and stead of KENNETH A. RICH

(P38349), MATTHEW J. SKLUT (P80241) and RICH & CAMPBELL, P.C.



                                              s/Arthur J. Tarnow
                                              HON. ARTHUR J. TARNOW
                                              US District Judge
Dated: March 7, 2019




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